       Case 2:19-cv-01924-JCC Document 1 Filed 11/25/19 Page 1 of 10




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 6                             UNITED STATES DISTRICT COURT
 7                   WESTERN DISTRICT OF WASHINGTON, AT SEATTLE
 8                                        *****
 9   BOARD OF TRUSTEES OF THE                   CASE NO.: 2:19-cv-1924
     EMPLOYEE PAINTERS’ TRUST; BOARD
10   OF TRUSTEES OF THE WESTERN
     GLAZIERS RETIREMENT TRUST FUND;            COMPLAINT
11   BOARD OF TRUSTEES OF THE DISTRICT
     COUNCIL NO. 5 APPRENTICESHIP AND
12   TRAINING TRUST FUND; TRUSTEES OF
     THE WASHINGTON CONSTRUCTION
13   INDUSTRY SUBSTANCE ABUSE
     PROGRAM; TRUSTEES OF THE
14   INTERNATIONAL PAINTERS AND ALLIED
     TRADES- LABOR MANAGEMENT
15   COOPERATION INITIATIVE;
     INTERNATIONAL UNION OF PAINTERS
16   AND ALLIED TRADES DISTRICT
     COUNCIL NO. 5,
17
                          Plaintiffs,
18   vs.
19   ALASKA GLAZING, INC., an Alaska
     corporation, d/b/a FAÇADE TECH; MICHAEL
20   E. MERRILL, an individual; HARTFORD FIRE
     INSURANCE COMPANY, a Connecticut
21   corporation; DOES & ROES I-X,
22                        Defendants.
23
               The Plaintiffs, BOARD OF TRUSTEES OF THE EMPLOYEE PAINTERS’ TRUST;
24
     BOARD OF TRUSTEES OF THE WESTERN GLAZIERS RETIREMENT TRUST FUND;
25

      COMPLAINT                                                              CHRISTENSEN JAMES & MARTIN
      Case No.                                       11900 NE 1st St., Ste 300, Bldg. G Bellevue, WA 98005
                                                                                      THE URBAN LAW FIRM
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       Case 2:19-cv-01924-JCC Document 1 Filed 11/25/19 Page 2 of 10




 1   BOARD OF TRUSTEES OF THE DISTRICT COUNCIL NO. 5 APPRENTICESHIP AND

 2   TRAINING TRUST FUND; TRUSTEES OF THE WASHINGTON CONSTRUCTION

 3   INDUSTRY SUBSTANCE ABUSE PROGRAM; TRUSTEES OF THE INTERNATIONAL

 4   PAINTERS       AND      ALLIED       TRADES-LABOR           MANAGEMENT                     COOPERATION

 5   INITIATIVE; INTERNATIONAL UNION OF PAINTERS AND ALLIED TRADES

 6   DISTRICT COUNCIL NO. 5 (collectively “Plaintiffs”), by and through their counsel,

 7   Christensen James & Martin and The Urban Law Firm, complain and allege as follows:

 8                                   JURISDICTION AND VENUE
 9             1.   This Court has jurisdiction of this case pursuant to Section 502(e)(1) of the

10   Employee Retirement Income Security Act of 1974, as amended (“ERISA”), 29 U.S.C. §

11   1132(e)(1), which grants the United States District Courts exclusive jurisdiction over civil actions

12   brought by a fiduciary pursuant to Section 502(a)(3) of ERISA, 29 U.S.C. § 1132(a)(3), to redress

13   violations or enforce the terms of ERISA or an employee benefit plan governed by ERISA. Such

14   jurisdiction exists without respect to the amount in controversy or the citizenship of the parties,

15   as provided in Section 502(f) of ERISA, 29 U.S.C. § 1132(f).

16             2.   This court has jurisdiction of this case pursuant to Section 301(a) of the Labor

17   Management Relations Act of 1947, as amended (“LMRA”), 29 U.S.C. § 185(a), which grants

18   the United States District Courts original jurisdiction over suits for violation of contracts between

19   an employer and labor organization in an industry affecting commerce, without respect to the

20   amount in controversy or the citizenship of the parties.

21             3.   Venue is proper in this Court pursuant to Section 502(e)(2) of ERISA, 29 U.S.C.

22   § 1132(e)(2), and Section 301(a) of the LMRA, 29 U.S.C. § 185(a), in that this is the Judicial

23   District in which the Trusts are administered, the signatory labor organization maintains its office,

24   where the relevant acts took place, and where the contractual obligation is to be paid.

25

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      Case No.                                                    11900 NE 1st St., Ste 300, Bldg. G Bellevue, WA 98005
                                                                                                   THE URBAN LAW FIRM
                                                                         720 N. 10th Street, A #389, Renton, WA 98057
      Page 2
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       Case 2:19-cv-01924-JCC Document 1 Filed 11/25/19 Page 3 of 10




 1             4.   To the extent this Complaint sets forth any state law claims, this Court has

 2   supplemental jurisdiction over those claims pursuant to 28 U.S.C. § 1367(a).

 3                           PARTIES AND GENERAL ALLEGATIONS

 4             5.   The EMPLOYEE PAINTERS’ TRUST, WESTERN GLAZIERS RETIREMENT

 5   TRUST FUND; DISTRICT COUNCIL NO. 5 APPRENTICESHIP AND TRAINING TRUST

 6   FUND; WASHINGTON CONSTRUCTION INDUSTRY SUBSTANCE ABUSE PROGRAM;

 7   INTERNATIONAL          UNION      OF    PAINTERS       AND        ALLIED            TRADES-             LABOR

 8   MANAGEMENT COOPERATION INITIATIVE; are express trusts created pursuant to formal
 9   written declarations of trust (“Trust Agreements”) between various unions, including the
10   International Union of Painters and Allied Trades District Council No. 5 and its associated Locals
11   (“Union”), and various multiemployer associations.
12             6.   The Trusts exist for the specific purpose of providing employee benefits to
13   participants under a “multiemployer plan,” “employee benefit plan,” “employee benefit pension
14   plan,” and/or “employee welfare benefit plan,” as the case may be, within the meaning of ERISA,
15   29 U.S.C. § 1002.
16             7.   The Board of Trustees and the individual Trustees of each of the Trust Funds is a
17   “named fiduciary,” “plan administrator” and “plan sponsor” and each is an individual “fiduciary,”
18   within the meaning of 29 U.S.C. §§1102(a), 1002(16) and (21), with respect to collection of

19   contributions due to the Trust Funds and related matters.

20             8.   These Trusts were created and now exist pursuant to Section 302(c) of the LMRA,

21   29 U.S.C. § 186(c), and are administered in Seattle, Washington.

22             9.   At all times material herein, the Union has been a labor organization representing

23   employees in the construction industry in Washington, Oregon, Alaska, Utah and Northern Idaho.

24   The Union represents employees in an industry affecting commerce within the meaning of Section

25   301(a) of the LMRA, 29 U.S.C. § 185(a).

      COMPLAINT                                                                          CHRISTENSEN JAMES & MARTIN
      Case No.                                                   11900 NE 1st St., Ste 300, Bldg. G Bellevue, WA 98005
                                                                                                  THE URBAN LAW FIRM
                                                                        720 N. 10th Street, A #389, Renton, WA 98057
      Page 3
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       Case 2:19-cv-01924-JCC Document 1 Filed 11/25/19 Page 4 of 10




 1             10.   Defendant ALASKA GLAZING, INC. d/b/a Façade Tech (“Alaska Glazing”) is

 2   an Alaska corporation authorized and registered to do business in the State of Washington and

 3   identified by Washington UBI Number 603 603 419. Alaska Glazing holds a glazing/glass

 4   specialty Washington State Contractors License No. FACADT*837MQ.

 5             11.   Defendant MICHAEL E. MERRILL (“Merrill”) is an individual residing in the

 6   State of Washington.

 7             12.   Defendant, HARTFORD FIRE INSURANCE COMPANY (“Hartford”), is a

 8   Connecticut corporation licensed to conduct business in Washington.
 9             13.   The true names and capacities, whether partnership, individual, corporate,
10   company, associate or otherwise of John Does I-X, inclusive, and Roe Corporations I-X,
11   inclusive, are unknown to the Plaintiffs at this time and said Defendants are therefore sued by
12   fictitious names. The Plaintiffs reserve the right to amend the Complaint to insert additional
13   charging allegations, together with the true identities and capacities, when the same have been
14   ascertained.
15             14.   At all times material herein, Alaska Glazing has been party and signatory to two
16   collective bargaining agreements. One is known as the IUPAT DC5/Local Union 188
17   Independent Commercial Glazing CBA and the other is known as the IUPAT DC5/Local Union
18   188 In-Shop Production Workers CBA.

19             15.   Each of Alaska Glazing’s CBAs with the Union were signed by Merrill.

20             16.   At all times material herein, Alaska Glazing has been obligated by the terms of the

21   CBAs to submit monthly reports to the Plaintiffs showing the hours worked by its employees

22   performing work covered under the CBA.

23             17.   At all times material herein, Alaska Glazing has been obligated by the terms of the

24   CBA to properly pay to the Plaintiffs fringe benefit contributions, benefits, dues and/or

25

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      Case No.                                                   11900 NE 1st St., Ste 300, Bldg. G Bellevue, WA 98005
                                                                                                  THE URBAN LAW FIRM
                                                                        720 N. 10th Street, A #389, Renton, WA 98057
      Page 4
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       Case 2:19-cv-01924-JCC Document 1 Filed 11/25/19 Page 5 of 10




 1   withholdings, on a monthly basis and at specified rates for each hour worked by or paid to the

 2   employees for covered labor performed by the employees.

 3             18.   Alaska Glazing also agreed to be bound by the terms and provisions of each of the

 4   Trust Agreements that created the Trusts. The Trusts are named and intended third-party

 5   beneficiaries of the CBA.

 6             19.   Alaska Glazing is an “employer” as that term is understood and defined in the

 7   CBA and is an “employer” as that term is used in Section 3(5) of ERISA, 29 U.S.C. § 1002(5),

 8   and therefore, Alaska Glazing is “obligated to make contributions to a multiemployer plan” within
 9   the meaning of Section 515 of ERISA, 29 U.S.C. § 1145.
10             20.   Alaska Glazing is an “employer” engaged in “commerce” in an “industry affecting
11   commerce,” as those terms are defined and used in Sections 501(1) and 501(3) of the LMRA, 29
12   U.S.C. § 142(1) and (3), and within the meaning and use of Section 301(a) of the LMRA, 29
13   U.S.C. § 185(a).
14             21.   By signing the CBA, Alaska Glazing agreed that the terms and conditions of the
15   CBA would be extended to all of its glass, glazing, window installation, window repair and
16   construction employees working in those trades. Thus, coverage of the CBA is defined by job
17   classification and type of work performed.
18             22.   All employees of Alaska Glazing are covered by the CBA if they perform glass,

19   glazing, window installation, window repair and construction work, regardless of the employee’s

20   personal affiliation or non-affiliation with any union.

21             23.   Defendant Merrill is an owner, officer, director, and governor of Alaska Glazing.

22                                     FIRST CAUSE OF ACTION

23         [Breach of Written Labor Agreement & Related Trust Agreements – Alaska Glazing]

24             24.   The Plaintiffs herein restate and reallege the above allegations as if fully set forth

25   verbatim.

      COMPLAINT                                                                           CHRISTENSEN JAMES & MARTIN
      Case No.                                                    11900 NE 1st St., Ste 300, Bldg. G Bellevue, WA 98005
                                                                                                   THE URBAN LAW FIRM
                                                                         720 N. 10th Street, A #389, Renton, WA 98057
      Page 5
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                                                                                                 Counsel for the Plaintiffs
       Case 2:19-cv-01924-JCC Document 1 Filed 11/25/19 Page 6 of 10




 1             25.   By the terms of the CBAs and related Trust Agreements, Alaska Glazing was

 2   required to remit reports and fringe benefit contributions, benefits, dues and/or withholdings to

 3   the Plaintiffs for each hour of covered labor performed by their employees. These reports were to

 4   be filed monthly with the Trust Funds.

 5             26.   Alaska Glazing is contractually delinquent because it failed to pay fringe benefit

 6   contributions for its reported covered labor.

 7             27.   Alaska Glazing’s failure to pay fringe benefit contributions is a breach of the CBA

 8   and related Trust Agreements.
 9             28.   Pursuant to the CBA and related Trust Agreements, Alaska Glazing agreed that in
10   the event of any delinquency, Alaska Glazing would pay, in addition to the delinquent fringe
11   benefit contributions, benefits, dues and/or withholdings, i) interest thereon at the rates
12   established under the applicable collective bargaining or trust agreement, or at the legal rate,
13   whichever is greater; ii) liquidated damages thereon in an amount set by the applicable collective
14   bargaining agreement, trust agreement, or as otherwise provided or by law; and iii) all legal and
15   auditing costs in connection therewith, whether incurred before or after litigation is commenced.
16             29.   Alaska Glazing submitted reports to the Trust Funds for August and September
17   2019 work months showing hours worked by its employees but did not remit payment with those
18   reports. Those reports remain unpaid.

19             30.   Alaska Glazing also submitted and paid its July 2019 work month report late to

20   the Trust Funds, which caused Alaska Glazing to accrue liquidated damages and interest under

21   the CBA and Trust Agreements.

22             31.   It has been necessary for the Plaintiffs to engage the law firms of Christensen

23   James & Martin and The Urban Law Firm to enforce the contractual obligations owed to the

24   Plaintiffs and collect any and all amounts due.

25             32.   Pursuant to the CBA and Trust Agreements, Alaska Glazing owes the Plaintiffs

      COMPLAINT                                                                          CHRISTENSEN JAMES & MARTIN
      Case No.                                                   11900 NE 1st St., Ste 300, Bldg. G Bellevue, WA 98005
                                                                                                  THE URBAN LAW FIRM
                                                                        720 N. 10th Street, A #389, Renton, WA 98057
      Page 6
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       Case 2:19-cv-01924-JCC Document 1 Filed 11/25/19 Page 7 of 10




 1   fringe benefit contributions, benefits, dues and/or withholdings calculated or measured by all

 2   hours of covered labor performed by their employees, plus interest at the contractual rate on all

 3   unpaid contributions from the dates the sums were originally due to the Plaintiffs to the date of

 4   judgment, liquidated damages, reasonable attorney’s fees, court costs, and auditing costs incurred

 5   by the Plaintiffs as a result of the breaches described herein.

 6             33.   The following amounts are owed by Alaska Glazing:

 7    Contributions for August and September             $117,111.76
 8    2019 Reports
 9    Liquidated Damages and Interest for Late           $11,219.82
10    June and July 2019 Reports
11                                         TOTAL:        $128,881.58
12             34.   In addition to the amounts shown in the table above, Alaska Glazing is also liable
13   to the Trust Funds under the CBA, Trust Agreements, and 29 U.S.C. 1132(g)(2) for the Plaintiffs’
14   attorney’s fees and costs incurred, liquidated damages for the unpaid August and September
15   reports that continue to accrue, and interest for the unpaid August and September reports that
16   continues to accrue.
17             35.   Upon entry of judgment, the Plaintiffs are entitled to post-judgment interest at the
18   highest rate allowed by law. The amount of such interest will be established by proof at trial or
19   through dispositive motion.
20                                   SECOND CAUSE OF ACTION
21                                 [Violation of ERISA - Alaska Glazing]
22             36.   The Trusts herein restate and reallege the above allegations as if fully set forth
23   verbatim.
24             37.   By failing to report and pay contributions to the Plaintiffs in accordance with the
25   CBA and Trust Agreements, Defendants have violated ERISA [29 U.S.C. § 1145]. In accordance

      COMPLAINT                                                                           CHRISTENSEN JAMES & MARTIN
      Case No.                                                    11900 NE 1st St., Ste 300, Bldg. G Bellevue, WA 98005
                                                                                                   THE URBAN LAW FIRM
                                                                         720 N. 10th Street, A #389, Renton, WA 98057
      Page 7
                                                                                       P. (425) 462-4045 / (702) 255-1718
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                                                                                                 Counsel for the Plaintiffs
       Case 2:19-cv-01924-JCC Document 1 Filed 11/25/19 Page 8 of 10




 1   with the terms of the Labor Agreement and Trust Agreements, and pursuant to Sections 502(g)(2)

 2   and 515 of ERISA [29 U.S.C. §§1132(g)(2) and 1145], the Plaintiffs are entitled to payment of

 3   all contributions determined to be due, as well as liquidated damages, interest, attorneys’ fees,

 4   costs incurred in enforcing the terms of the CBA and Trust Agreements, and such other legal and

 5   equitable relief as the Court deems appropriate.

 6             38.   The contract breaches and violations of ERISA identified above harm the Plaintiffs

 7   and place at risk the Plaintiffs’ ability to provide required employee benefits to their beneficiaries.

 8             39.   The Plaintiffs are entitled to all remedies provided by ERISA as and for
 9   compensation for the Defendants’ violations.
10                                     THIRD CAUSE OF ACTION

11                   [Breach of Written Trust Agreements – Merrill and Does & Roes]

12             40.   The Trusts herein restate and reallege the above allegations as if fully set forth

13   verbatim.

14             41.   The CBA incorporates the terms of the Trust Agreements governing the Trusts.

15             42.   The Trust Agreements for Plaintiffs Employee Painters’ Trust, Western Glaziers

16   Retirement Trust, and District Council No. 5 Apprenticeship and Training Trust Fund each

17   contain an express provision imposing personal liability for unpaid contributions and related

18   damages on the President, Treasurer, or other corporate officer of the employer responsible for

19   payment of contributions for an employer required to make such contributions.

20             43.   At all times material herein, Defendants Merrill and Does and Roes, as Alaska

21   Glazing’s corporate officers responsible for making payment of contributions to the Plaintiffs,

22   became personally and individually bound and liable to the Employee Painters’ Trust, Western

23   Glaziers Retirement Trust, and District Council No. 5 Apprenticeship and Training Trust Fund,

24   pursuant to the express terms of the Trust Agreements governing those trust funds, for the

25   contributions and related damages owed to those trust funds by Alaska Glazing.

      COMPLAINT                                                                            CHRISTENSEN JAMES & MARTIN
      Case No.                                                     11900 NE 1st St., Ste 300, Bldg. G Bellevue, WA 98005
                                                                                                    THE URBAN LAW FIRM
                                                                          720 N. 10th Street, A #389, Renton, WA 98057
      Page 8
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       Case 2:19-cv-01924-JCC Document 1 Filed 11/25/19 Page 9 of 10




 1                                      FOURTH CAUSE OF ACTION

 2     [Demand for Payment from Contractor’s License Bond- Hartford Fire Insurance Company]

 3               44.   The Trusts restate and reallege the above allegations as if fully set forth herein.

 4               45.   RCW 18.27.040 requires each contractor in this state to obtain a bond upon

 5        being licensed or provide another undertaking equivalent to a bond.

 6               46.   Employees and laborers of a contractor are parties protected by the bond.

 7               47.   The protection extends not only to wages but also to employee benefits owed to

 8        employees or laborers.
 9               48.   The Trusts are entitled to payment from Alaska Glazing for the unpaid benefit
10        contributions known for the months Alaska Glazing reported without payment and for the
11        unknown amounts for months for which Alaska Glazing has not reported to the Trust.
12               49.   Hartford stands in the place of Alaska Glazing and is a guarantor for the payment
13        of fringe benefit contributions to the Trust.
14               50.   Therefore, Hartford is liable to the Trust to the same extent as is Alaska Glazing.
15               51.   The only limitation to Hartford’s liability is that its liability may not be greater
16        than the penal sum of the bond issued, which is Bond No. 52bsbhs1190.
17               52.   The Trust’s demand upon Hartford is for all contributions, liquidated damages,
18        interest, and attorney’s fees and costs incurred in connection with Alaska Glazing’s

19        delinquency.

20

21                                          PRAYER FOR RELIEF

22             WHEREFORE, the Plaintiffs pray for Judgment against Defendants, and each of them, as

23   follows:

24             1.      For the Court’s Order compelling Defendants to abide by the terms of the Labor

25   Agreement;

      COMPLAINT                                                                              CHRISTENSEN JAMES & MARTIN
      Case No.                                                       11900 NE 1st St., Ste 300, Bldg. G Bellevue, WA 98005
                                                                                                      THE URBAN LAW FIRM
                                                                            720 N. 10th Street, A #389, Renton, WA 98057
      Page 9
                                                                                          P. (425) 462-4045 / (702) 255-1718
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      Case 2:19-cv-01924-JCC Document 1 Filed 11/25/19 Page 10 of 10




 1           2.    For damages for breach of contract in an amount to be proven at trial;

 2           3.    For unpaid fringe benefit contributions in amounts to be proven at trial;

 3           4.    For liquidated damages in an amount to be proven at trial;

 4           5.    For accrued interest on all unpaid contributions and damages from their due dates

 5   until paid;

 6           6.    For the Plaintiffs’ reasonable attorney’s fees;

 7           7.    For the Plaintiffs’ costs of suit incurred herein;

 8           8.    For such additional relief as may be provided for by 29 U.S.C. § 1132; and
 9           9.    For such additional relief as this Court may deem just and proper.
10           DATED this 25th day of November 2019.
11                                                         CHRISTENSEN JAMES & MARTIN
12                                                         By:       /s/ Wesley J. Smith
                                                                 Wesley J. Smith, Esq.
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      COMPLAINT                                                                            CHRISTENSEN JAMES & MARTIN
      Case No.                                                     11900 NE 1st St., Ste 300, Bldg. G Bellevue, WA 98005
                                                                                                    THE URBAN LAW FIRM
                                                                          720 N. 10th Street, A #389, Renton, WA 98057
      Page 10
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